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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                    )
                                              )
              Plaintiff,                      )   CRIMINAL NO. 18-CR-2849-JAP
                                              )
       vs.                                    )
                                              )
 LUCAS PAEZ,                                  )
                                              )
              Defendant.                      )

                    MOTION TO DISMISS THE INDICTMENT
             AS TO DEFENDANT LUCAS PAEZ WITHOUT PREJUDICE

      Pursuant to Rule 48 of the Federal Rules of Criminal Procedure, the United States

respectfully moves the Court to dismiss the pending Indictment in this case, without

prejudice, against only Lucas Paez.

                                              Respectfully submitted,

                                              JOHN C. ANDERSON
                                              United States Attorney

                                               Electronically filed March 28, 2019
                                              Kristopher N. Houghton
                                              Assistant U.S. Attorney
                                              P.O. Box 607
                                              Albuquerque, NM 87103
                                              (505) 346-7274




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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I filed the
foregoing through the CM/ECF system, which
provided notice and a copy to opposing counsel
of record.
/s/
Kristopher N. Houghton
Assistant United States Attorney




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